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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 1:21-CV-23011-MD / DAMIAN

  ALEJANDRO BORGES, individually and on
  behalf of all others similarly situated,

                              Plaintiff,

          v.

  SMILEDIRECTCLUB, LLC,

                     Defendant.
  ______________________________________/

                     OPPOSITION TO PLAINTIFF’S
    NOTICE OF SUPPLEMENTAL AUTHORITY PURSUANT TO LOCAL RULE 7.8

        1.         Plaintiff’s authority fails to aid the intermediate scrutiny analysis. SDC welcomes

 a hearing to better address the variety of supplemental authority provided by the Parties.

        2.         Pariseau offers no intermediate scrutiny analysis. (See Dkt. 72-1 at 13.) The court

 evaluates the levels of scrutiny, and then devotes just one sentence to applying intermediate

 scrutiny. (Id.)

        3.         Further,    Pariseau    improperly   relies   on   the   “alternative   channels   for

 communication” analysis which does not apply to content-based regulations.                 See City of

 Cincinnati v. Discovery Network, Inc., 507 U.S. 410, 430 (1993). It pertains only to content-neutral

 time, place and manner regulation. Id.

        4.         The court likewise did not address the critical issue here—the written consent

 restriction—and requirement that Florida “seriously under[ake] to address the problem” with

 readily available less restrictive tools. Messina v. City of Fort Lauderdale, 546 F. Supp. 3d 1227,

 1249 (S.D. Fla. 2021) (internal citation omitted). Obvious less restrictive alternatives (nonwritten

 consent) exist and were never evaluated. (Dkt. 66 at 3); Total Real Est. Grp., LLC v. Strode, No.
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 21-01677, 2022 WL 633670, at *13 (D. Or. Mar. 3, 2022); Gale Force Roofing & Restoration,

 LLC v. Brown, 548 F. Supp. 3d 1143, 1165 (N.D. Fla. 2021).

 DATED: August 8, 2022                      Respectfully submitted

                                            /s/ Jordan S. Kosches

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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the above and foregoing
 OPPOSITION TO PLAINTIFF’S SUPPLEMENTAL AUTHORITY was served upon all
 interested parties using this Court’s ECF filing system this 8th day of August 2022.


                                                            /s/ Jordan S. Kosches




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